Case 2:04-cr-20416-SH|\/| Document 12 Filed 05/11/05 Page 1 of 2 PagetD 15

. \.

Ffé_§t) ._1.1.~." l
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE §§ iii'_|i”a'f

Western Division

 

 

UNI'I`ED STATES OF AMERICA

-vs- Case No. 2:04cr20416-00] Ma

DERICO BOBBIT

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
MONDAY, MAY 9, 2005 at 3:00 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North
Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United
States Marshal and produced for the hearing

: ,______

Date May 5, 2005 <$/S /AMMG /:: 2

. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

]If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government or up to five days upon motion of the defendant 18 U.S.C. § 3142(f')(2).

A hearing is required Whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) Will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8!85) Order of Tc-zmporar'yl Detention

This document entered on the docket sheet in c`o$rr}plzance
., f ,
With Rule 55 and/or 32(b) FRCrP on -

 

oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
case 2:04-CR-20416 Was distributed by faX, mail, or direct printing on
May l 1, 2005 to the parties listed.

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

